         Case 8:16-ap-01114-ES Doc 53 Filed 11/19/17                                Entered 11/19/17 21:36:54                Desc
                             Imaged Certificate of Notice                           Page 1 of 3
                                              United States Bankruptcy Court
                                             Central District of California
Peters,
              Plaintiff                                                                           Adv. Proc. No. 16-01114-ES
Easter,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0973-8                  User: tduarteC                     Page 1 of 1                          Date Rcvd: Nov 17, 2017
                                      Form ID: pdf031                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 19, 2017.
dft            +Kent W Easter,   153 Baywood Dr,   Newport Beach, CA 92660-7130

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
pla               Bill Peters
pla               Kelli Peters
pla               Sydnie Peters
                                                                                                                    TOTALS: 3, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 19, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 17, 2017 at the address(es) listed below:
              Robert H Marcereau    on behalf of Plaintiff Kelli Peters , nlipowski@mncalaw.com
              Robert H Marcereau    on behalf of Plaintiff Sydnie Peters , nlipowski@mncalaw.com
              Robert H Marcereau    on behalf of Plaintiff Bill Peters , nlipowski@mncalaw.com
              Robert P Goe   on behalf of Defendant Kent W Easter kmurphy@goeforlaw.com,
               rgoe@goeforlaw.com;goeforecf@gmail.com
              United States Trustee (SA)    ustpregion16.sa.ecf@usdoj.gov
              Weneta M Kosmala (TR)    ecf.alert+Kosmala@titlexi.com,
               wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
                                                                                            TOTAL: 6
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                    Imaged Certificate of Notice         Page 2 of 3



  1   MARCEREAU & NAZIF
      Robert H. Marcereau (SBN 211534)
  2   Sy Nazif (SBN 228949)                                       FILED & ENTERED
      26000 Towne Centre Drive, Suite 230
  3   Foothill Ranch, CA 92610
      Tel: (949) 531-6500                                               NOV 17 2017
  4   Fax: (949) 531-6501
  5   ATTORNEYS FOR CREDITORS and PLAINTIFFS                       CLERK U.S. BANKRUPTCY COURT
                                                                   Central District of California
      Kelli Peters, Bill Peters and Sydnie Peters                  BY duarte     DEPUTY CLERK
  6
  7
                             UNITED STATED BANKRUPTCY COURT
  8
                CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION
  9
110
 11   In re:                                         Case No. 8:16-bk-10223-ES
                                                     Adversary Case No.: 8:16-ap-01114-ES
 12   Kent W. Easter, dba Kent Easter
 13   Consulting, dba Law Offices of Kent W.
      Easter                                         ORDER RE: STIPULATION TO
 14                                                  DISMISS
 15
 16   Kelli Peters, Bill Peters and Sydnie Peters,
 17
                    Plaintiffs,
 18                              vs.
 19   Kent W. Easter, dba Kent Easter
      Consulting, dba Law Offices of Kent W.
 20
      Easter,
 21                 Defendants.
 22
 23   //
 24
      //
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 28   //



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Case 8:16-ap-01114-ES Doc 53 Filed 11/19/17              Entered 11/19/17 21:36:54    Desc
                    Imaged Certificate of Notice         Page 3 of 3



  1                                            ORDER
  2
            1.     PXUVXDQWWRWKHSDUWLHV¶VWLSXODWLRQORGJHGZLWKWKLVFRXUWRQ$XJXVW
  3
                   the parties have reached a settlement.
  4
            2.     Pursuant to the 3DUWLHV¶ 6HWWOHPHQW $JUHHPHQW DQG 0XWXDO 5HOHDVH GDWHG
  5
                   August 8, 2017, and Federal Rule of Civil Procedure 41(a)(l)(A)(ii) made
  6
                   applicable to this adversary proceeding by Federal Rule of Bankruptcy
  7
                   3URFHGXUH3ODLQWLII¶V&RPSODLQWLVGLVPLVVHGZLWKRXW prejudice.
  8
  9         2.     Each party shall bear its own fees and costs.

110                                            By the Court,
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 12                                            ###

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       Date: November 17, 2017
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